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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 RACHEL HELLER,                 )
                                )
          Plaintiff,            )
                                )
 vs.                            )
                                )                      Case No. 1:23-cv-04595-ELR
 GLASS ENTERTAINMENT GROUP LLC, )
                                )
          Defendant.            )
                                )

              JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

        Plaintiff Rachel Heller (“Plaintiff”) and Defendant Glass Entertainment Group

LLC (“Defendant,” together with Plaintiff, the “Parties”), by and through their

undersigned counsel, hereby submit this Joint Preliminary Report and Discovery Plan

(“Joint Report”) as follows:

1.      DESCRIPTION OF CASE:

        (a) Describe briefly the nature of this action.

              Plaintiffs’ Response:

        Plaintiff Rachel Heller seeks actual damages, punitive damages, and litigation

expenses, including attorneys’ fees, against Defendant Glass Entertainment Group

LLC (“Glass”) for promissory estoppel and violation of Ms. Heller’s right to privacy




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through misappropriation of her likeness in connection with a docuseries produced by

Glass.

              Defendant’s Response:

         This suit arises out of the three-part ABC News documentary, produced by

Defendant, and streaming on Hulu, entitled, Betrayal: The Perfect Husband (“the

Docuseries”). The Docuseries tells the story of Jenifer Faison (“Faison”) after she

learned that her husband, Spencer Herron (“Herron”), had been living a secret double

life following his arrest for the sexual assault of Plaintiff. The Docuseries broadcast

Plaintiff’s recorded statements made during an earlier related podcast similarly entitled

Betrayal (“the Podcast”) and tape of a presentation Faison and Plaintiff gave at a

University of North Georgia (“UNG”) criminal justice class, where they spoke about

their relationships with Herron and the harm he caused to them and others.

         Plaintiff’s First Amended Complaint (“FAC”) asserted claims against

Defendant, ABC News, Inc. (“ABC”) and Hulu, LLC (“Hulu”) for: (1)

Misappropriation of Plaintiff’s Likeness; (2) Breach of Contract; (3) Specific

Performance; (4) Promissory Estoppel; (5) Unjust Enrichment; and (6) Punitive

Damages. Specifically, Plaintiff avers that Defendant entered into two oral agreements

with Plaintiff whereby Defendant allegedly promised that: (1) Plaintiff’s interview on

the Podcast would be “used solely for the Podcast” (the purported “Podcast

Agreement”); and (2) Plaintiff’s UNG presentation would not be used in the Docuseries

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without her consent (the purported “Docuseries Agreement”). Because portions of

Plaintiff’s Podcast interview and UNG presentation appear in the Docuseries, Plaintiff

alleges that her right of publicity under Georgia law was violated.

        On August 16, 2024, the Court dismissed Plaintiff’s claims against Defendant

for (1) Breach of Contract (Count II), and (2) Specific Performance as to the Docuseries

Agreement (Count III). The Court also dismissed the claims against ABC and Hulu

(dismissing them from the action), including Count V for Unjust Enrichment, which

was asserted only against ABC and Hulu.

        On January 14, 2025, the Court granted, in part, Defendant’s motion for

reconsideration, ruling that Plaintiff’s appearance in the Docuseries was newsworthy,

but upholding its ruling that Plaintiff’s appropriation of likeness claim (Count I)

withstood a motion to dismiss based on allegations that Defendant purportedly waived

its First Amendment rights based on its alleged agreement to the Podcast

Agreement and the Docuseries Agreement. Defendant denies, among other things, the

existence of the Podcast Agreement and the Docuseries Agreement.

    (b) Summarize, in the space provided below, the facts of this case. The
summary should not be argumentative nor recite evidence.

              Plaintiffs’ Response:

        Ms. Heller was a student at Kell High School in Cobb County, Georgia who

graduated in 2018. She was the innocent victim of repeated sexual abuse by Spencer


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Herron, one of her teachers, while she attended Kell. Ms. Heller reported Herron’s

sexual abuse to authorities in Cobb County which led to Herron’s arrest, conviction,

and time served in prison.      After Herron’s arrest, Herron’s then-wife, Jenifer,

discovered that Herron had had sexual relations with numerous women during their

marriage. Glass produced a popular podcast regarding these events and thereafter

produced a three-part docuseries titled “Betrayal – The Perfect Husband.” Glass

licensed the rights to the docuseries to ABC News and Hulu and Hulu began streaming

the production on July 11, 2023. Without her permission, Ms. Heller was featured in

the docuseries including, without limitation, the use of her voice from the podcast and

a video of a presentation she gave to students at the University of North Georgia about

her ordeal.

              Defendant’s Response:

        Herron’s arrest made national news after Plaintiff courageously spoke out

against what he did to her. Plaintiff was interviewed for the Podcast during which time

she claims to have set forth certain express conditions on how the recording could be

used by Defendant, i.e., “solely for the Podcast” (the purported “Podcast Agreement”).

In addition, on November 17, 2022, Plaintiff and Faison both gave a presentation

discussing their ordeals with Herron to a criminal justice class at UNG in Dahlonega,

Georgia. Defendant filmed the presentation.



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        Days before, on November 5, 2022, Plaintiff alleges that she and Faison met at

Faison’s home to prepare. While there, the two allegedly discussed filming their

presentations for the Docuseries. Plaintiff alleges that she expressed her reluctance to

being taped, but Faison allegedly assured her, “[w]e would never be able to use footage

of you if you didn’t sign a release.” The FAC avers that Faison’s statement to Plaintiff

created an oral contract with Defendant (the alleged “Docuseries Agreement”) in which

Defendant supposedly was permitted to tape Plaintiff at UNG, but thereafter Plaintiff

would have control over whether the video footage could be used in the Docuseries.

        Defendant denies, among other things, the existence of both the Podcast

Agreement and Docuseries Agreement. Defendant further denies that such statements,

if made by Faison, were sufficient to bind Defendant to an agreement between Faison

and Plaintiff, or to act as a waiver of Defendant’s First Amendment rights.

        (c) The legal issues to be tried are as follows:

               Plaintiff’s Response:

              • Did Glass promise to Ms. Heller not to publish or to limit the publication

                 of Ms. Heller’s voice, image, and likeness?

              • Should Glass have reasonably expected that Ms. Heller would rely upon

                 Glass’s promises not to publish or to limit the publication of Ms. Heller’s

                 voice, image, and likeness?

              • Did Ms. Heller rely upon Glass’s promises?

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              • Did Glass invade Ms. Heller’s privacy by misappropriating her voice,

                 image, and likeness?

              • Did Glass intentionally invade Ms. Heller’s privacy?

              • Did Ms. Heller suffer irreparable harm due to Glass’s misappropriation of

                 her voice, image, and likeness?

              • To what extent has Ms. Heller been harmed by Glass’s alleged

                 misappropriation of Ms. Heller’s voice, image, and likeness?

              • To what extent has Ms. Heller been harmed by Glass’s violation of its

                 promises to Ms. Heller?

              • Did Glass act in bad faith and/or cause Ms. Heller unnecessary trouble

                 and expense such that Ms. Heller is entitled to recover her litigation

                 expenses, including reasonable attorneys’ fees?

              • Do Glass’s actions show willful misconduct, malice, fraud, wantonness,

                 oppression, or that entire want of care which would raise the presumption

                 of conscious indifference to consequences such that Ms. Heller is entitled

                 to punitive damages and, if so, in what amount?

               Defendant’s Response:

              • Did Plaintiff and Defendant enter into the purported Podcast Agreement?

              • Did Defendant breach the purported Podcast Agreement?



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              • Did Plaintiff and Faison enter into the purported Docuseries Agreement?

              • Did Faison have authority to act on behalf of Defendant to enter the

                 purported Docuseries Agreement?

              • Did Defendant breach the purported Docuseries Agreement?

              • Did Defendant violate Plaintiff’s privacy rights by re-publishing in the

                 Docuseries the audio of her previously-published Podcast interview?

              • Did Defendant violate Plaintiff’s privacy rights by publishing in the

                 Docuseries portions of Plaintiff’s public speech made before a class at

                 UNG?

              • Are Plaintiff’s claims barred by the First Amendment?

              • Are Plaintiff’s claims barred by the newsworthiness exception under

                 Georgia law?

              • Is there clear and convincing evidence that Defendant made a knowing,

                 voluntary, and intelligent waiver of its First Amendment and

                 newsworthiness rights (if it is assumed, arguendo, that newsworthiness

                 can be waived at all)?

              • To the extent Plaintiff can establish a claim for promissory estoppel,

                 which Defendant denies, whether she suffered economic losses

                 independent of tort damages (e.g., emotional distress)?


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              • Whether Plaintiff can establish by clear and convincing evidence that

                  punitive damages are warranted, which Defendant denies, and, if so,

                  whether such damages are limited to the $250,000 amount permitted

                  under O.C.G.A. § 51-12-5.1(g)?

              •   What other compensable damages, if any, has Plaintiff suffered if

                  Defendant is found liable at all, which Defendant denies?

        (d) The cases listed below (include both style and action number) are:

                  (1) Pending Related Cases:

                      Joint Response:

                      None.

                  (2) Previously Adjudicated Related Cases:

                      Joint Response:

                      None.

2.      THIS CASE IS COMPLEX BECAUSE IT POSSESS ONE OR MORE OF
        THE FEATURES LISTED BELOW (PLEASE CHECK):

                  (1) Unusually large number of parties
                  (2) Unusually large number of claims or defenses
                  (3) Factual issues are exceptionally complex
        X         (4) Greater than normal volume of evidence
        X         (5) Extended discovery period is needed
                  (6) Problems locating or preserving evidence
                  (7) Pending parallel investigations or action by government
                  (8) Multiple use of experts
                  (9) Need for discovery outside United States boundaries
                  (10) Existence of highly technical issues and proof

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        X      (11) Unusually complex discovery of electronically stored information

3.      COUNSEL:

        The following individually-named attorneys are hereby designated as lead

counsel for the parties:

        Plaintiff: Cary Ichter.

        Defendant: David Aronoff.

4.      JURISDICTION:

        Is there any question regarding this Court’s jurisdiction?

               Yes           X    No

       If “yes,” please attach a statement, not to exceed one page, explaining the
jurisdictional objection. When there are multiple claims, identify and discuss separate
the claim(s) on which the objection is based. Each objection should be supported by
authority.

5.      PARTIES TO THIS ACTION:

        (a) The following persons are necessary parties who have not been joined:

              Joint Response:

              None.

        (b) The following persons are improperly joined as parties:

              Joint Response:

              None.

      (c) The names of the following parties are either inaccurately stated or
necessary portions of their names are omitted:

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              Joint Response:

              None.

      (d) The parties shall have a continuing duty to inform the Court of any
contentions regarding unnamed parties necessary to this action or any
contentions regarding misjoinder of parties or errors in the statement of a
party’s name.

6.      AMENDMENTS TO THE PLEADINGS:

       Amended and supplemental pleadings must be filed in accordance with the time
limitations and other provisions of Fed. R. Civ. P. 15. Further instructions regarding
amendments are contained in LR 15.

      (a) List separately any amendments to the pleadings that the parties
anticipate will be necessary:

              Joint Response:

              None.

      (b) Amendments to the pleadings submitted LATER THAN THIRTY
DAYS after the Joint Preliminary Report and Discovery Plan is filed, or should
have been filed, will not be accepted for filing, unless otherwise permitted by
law.

7.      FILING TIMES FOR MOTIONS:

       All motions should be filed as soon as possible. The local rules set specific filing
limits for some motions. These times are restated below.

      All other motions must be filed WITHIN THIRTY DAYS after the beginning of
discovery, unless the filing party has obtained prior permission of the court to file later.
Local Rule 7.1A(2).

        (a) Motions to Compel: before the close of discovery or within the extension
            period allowed in some instances. Local Rule 37.1.


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        (b) Summary Judgment Motions: within thirty days after the close of discovery,
            unless otherwise permitted by court order. Local Rule 56.1.

        (c) Other Limited Motions: Refer to Local Rules 7.2A; 7.2B, and 7.2E,
            respectively, regarding filing limitations for motions pending on removal,
            emergency motions, and motions for reconsideration.

        (d) Motions Objecting to Expert Testimony: Daubert motions with regard to
            expert testimony no later than the date that the proposed pretrial order is
            submitted. Refer to Local Rule 7.2F.

8.      INITIAL DISCLOSURES:

       The parties are required to serve initial disclosures in accordance with Fed. R.
Civ. P. 26. If any party objects that initial disclosures are not appropriate, state the
party and basis for the party’s objection. NOTE: Your initial disclosures should
include electronically stored information. Refer to Fed. R. Civ. P. 26(a)(1)(B)

        Joint Response:

        During the pendency of several motions, the Court vacated the exchange of the

disclosures pursuant to Fed. R. Civ. P. 26(a) and the prior deadline for the Parties to

file this Joint Report. See Dkt. 46. On January 14, 2025, the Court lifted the stay and

directed the Parties to file this Report with 30 days thereafter, i.e., February 13, 2025.

Dkt. 51.

        As noted below, the parties propose delaying the beginning of discovery until

after the parties attempt resolution through mediation which should occur no later than

ninety (90) days after the Court’s entry of this Joint Preliminary Report and Discovery

Plan. After mediation has been complete, the Parties will notify the Court within three

(3) court days of the status of the mediation and of its completion. In the event

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mediation is not successful, the discovery period will commence upon the filing of the

notice. Initial disclosures are due no later than fourteen (14) days after such notice to the Court.

9.      REQUEST FOR SCHEDULING CONFERENCE:

       Does any party request a scheduling conference with the Court? If so, please
state the issues which could be addressed and the position of each party.

        Joint Response:

        No.

10.     DISCOVERY PERIOD:

        The Parties respectfully request that Court delay the commencement of formal

discovery and until the Parties participated in mediation. The mediation is expected to occur

no later than ninety (90) days after the Court’s entry of this Joint Preliminary Report

and Discovery Plan. After mediation has been complete, the Parties will notify the

Court within three (3) court days of the status of the mediation and of its completion.

In the event mediation is not successful, the discovery period will commence upon the

filing of the notice. As stated in LR 26.2A, responses to initiated discovery must be

completed before expiration of the assigned discovery period.

       Cases in this Court are assigned to one of the following three discovery tracks:
(a) zero month discovery period, (b) four months discovery period, and (c) eight
months discovery period. A chart showing the assignment of cases to a discovery track
by filing category is contained in Appendix F. The track to which a particular case is
assigned is also stamped on the complaint and service copies of the complaint at the
time of filing.



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        Please state below the subjects on which discovery may be needed:

               Plaintiffs’ Response:

        Decisions made by Glass employees regarding the appropriation of Ms. Heller’s

voice, image, and likeness.

        Revenue generated and to be generated by Glass due to licensing or sale of rights

to the docuseries.

               Defendant’s Response:

        Among other things, discovery is needed regarding the following: (a) the

circumstances surrounding the purported negotiation and consummation of the Podcast

Agreement; (b) Plaintiff’s communications regarding the Podcast and the Podcast

Agreement with third parties, including Faison; (c) the circumstances surrounding the

purported negotiation and consummation of the Docuseries Agreement; (d) Plaintiff’s

communications regarding the Docuseries and the Docuseries Agreement with third

parties, including Faison; and (e) Plaintiff’s claimed damages.

       If the parties anticipate that additional time beyond that allowed by the assigned
discovery track will be needed to complete discovery or that discovery should be
conducted in phases or be limited to or focused upon particular issues, please state
those reasons in detail below:

               Joint Response:

        The parties believe that they will need six (6) months of discovery, largely due to the

time Defendant anticipates it will need to search for and produce ESI.


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11.     DISCOVERY LIMITATION AND DISCOVERY OF
        ELECTRONICALLY STORED INFORMATION:

     (a) What changes should be made in the limitations on discovery imposed
under the Federal Rules of Civil Procedure or Local Rules of this Court, and
what other limitations should be imposed?

              Joint Response:

              None.

        (b) Is any party seeking discovery of electronically stored information?

        X      Yes                No

        If “yes,”

        (1) The parties have discussed the sources and scope of the production of
electronically stored information and have agreed to limit the scope of production
(i.e., accessibility, search terms, date limitations, or key witnesses) as follows:

              Joint Response:

        The Parties agree to work together in good faith to set reasonable limitations on

the scope and timing of production if appropriate as discovery progresses. In the event

the parties are not able to agree on issues regarding discovery of electronically stored

information, the parties shall request a scheduling conference in paragraph 9 hereof.

        (2) The parties have discussed the format for the production of
electronically stored information (e.g., Tagged Image File Format (TIFF or .TIF
files), Portable Document Format (PDF), or native), method of production (e.g.,
paper or disk), and the inclusion or exclusion and use of metadata, and have
agreed as follows:




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              Joint Response:

        The Parties agree to comply with the rules for electronic production consistent

with the Federal Rules of Civil Procedure. The Parties will meet and confer as

appropriate. In the event the parties are not able to agree on issues regarding discovery

of electronically stored information, the parties shall request a scheduling conference

in paragraph 9 hereof. In the event the parties are not able to agree on issues regarding

discovery of electronically stored information, the parties shall request a scheduling

conference in paragraph 9 hereof.

12.     OTHER ORDERS:

      What other orders do the parties think that the Court should enter under Rule
26(c) or under Rule 16(b) and (c)?

              Joint Response:

              None.

13.     SETTLEMENT POTENTIAL:

       (a) Lead counsel for the parties certify by their signatures below that
they conducted a Rule 26(f) conference that was held on February 5, 2025, and
that the participated in settlement discussions. Other persons who participated
in the settlement discussions are listed according to party.

For plaintiff: Lead counsel (signature):        /s/ Cary Ichter

        Other participants:                     /s/ James W. Hawkins

For defendant: Lead counsel (signature):        /s/ David Aronoff



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        Other participants:                        /s/ Joshua Bornstein

      (b) All parties were promptly informed of all offers of settlement and
following discussion by all counsel, it appears that there is now:

              (X) A possibility of settlement before discovery.*
              ( _) A possibility of settlement after discovery.
              ( ) A possibility of settlement, but a conference with the judge is needed.
              ( ) No possibility of settlement.

                 Joint Response:

              * To facilitate meaning settlement discussions and mediation, the Parties have

agreed to a brief round of informal discovery prior to engaging in formal discovery.

      (c) Counsel ( X ) do or (      ) do not intend to hold additional settlement
conferences among themselves prior to the close of discovery. The proposed
date of the next settlement conference is to be determined by the Parties.

                 Joint Response:

        The mediation is expected to occur in the next ninety (90) days.

      (d) The following specific problems have created a hindrance to
settlement of this case.

                 Joint Response:

                 None.

14.     TRIAL BY MAGISTRATE JUDGE:

       Note: Trial before a Magistrate Judge will be by jury if a party is otherwise
entitled to a jury trial.
       (a) The parties (        ) do consent to having this case tried before a
magistrate judge of this Court. A completed Consent to Jurisdiction b a United States
Magistrate Judge form has been submitted to the clerk of court this    day of
       , 20 .

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      (b) The parties (X) do not consent to having this case tried before a magistrate
judge of this Court.

        Respectfully submitted,

 /s/ James W. Hawkins________              /s/ David Aronoff_________
 James W. Hawkins                          David Aronoff, Pro Hac Vice
 Georgia Bar No. 338767                    Joshua Bornstein, Pro Hac Vice
 Cary Ichter                               FOX ROTHSCHILD LLP
 Georgia Bar No. 382515                    10250 Constellation Blvd. Ste. 900
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 Atlanta, Georgia 30339                    daronoff@foxrothschild.com
 404.869.7600 (Phone)                      jborstein@foxrothschild.com
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 jhawkins@ichterdavis.com                  Elizabeth G. Brunette
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                                          Entertainment Group




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                             ***************
                             SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report and
Discovery Plan form completed and filed by the parties, the Court orders that the time
limits for adding parties, amending the pleadings, filing motions, completing
discovery, and discussing settlement are as set out in the Federal Rules of Civil
Procedure and the Local Rules of this Court, except as herein modified:

        IT IS SO ORDERED, this         day of                    , 20   .



                                   UNITED STATES DISTRICT JUDGE




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